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O AO 245A (Rev. 7/87) Judgment of Acquittal



                                     UNITED STATES DISTRICT COURT
                         FOR THE                DISTRICT OF                PUERTO RICO

          UNITED STATES OF AMERICA
                                                        JUDGMENT OF ACQUITTAL
                              V.

         MALVIN PAGAN-SANTIAGO
                                                        CASE              04-CR-249 (1)




       The Defendant was found not guilty. IT IS ORDERED that the Defendant is acquitted, discharged,
and any bond exonerated.




S/ Salvador E. Casellas
Signature of Judicial Officer

Salvador E. Casellas, U.S. District Judge
Name and Title of Judicial Officer

                        February 24, 2006
                                   Date
